     Dated: 7/1/2019




Case 3:19-bk-03258   Doc 16   Filed 07/01/19 Entered 07/01/19 11:42:04   Desc Main
                              Document     Page 1 of 3
Case 3:19-bk-03258   Doc 16   Filed 07/01/19 Entered 07/01/19 11:42:04   Desc Main
                              Document     Page 2 of 3
                                                         This Order has been electronically
                                                         signed. The Judge's signature and
                                                         Court's seal appear at the top of the
                                                         first page.
                                                         United States Bankruptcy Court.

Case 3:19-bk-03258   Doc 16   Filed 07/01/19 Entered 07/01/19 11:42:04          Desc Main
                              Document     Page 3 of 3
